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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


S.C.G., a minor child, through his        :
next friend JAMANIC REAVES, and           :
K.L.P., on behalf of themselves and       :
all others similarly situated,            :
                                          :
       Plaintiffs,                        :        CIVIL ACTION NO.
                                          :        1:22-cv-01324-LMM
v.                                        :
                                          :
CANDICE BROCE, in her official            :
capacity as COMMISSIONER OF               :
THE GEORGIA DEPARTMENT OF                 :
HUMAN SERVICES,                           :
                                          :
       Defendant.                         :


                            SCHEDULING ORDER

      Upon review of the information contained in the Joint Preliminary Report

and Discovery Plan form completed and filed by the parties, the Court orders that

the time limits for adding parties, amending the pleadings, filing motions,

completing discovery, and discussing settlement are as set out in the Federal Rules

of Civil Procedure and the Local Rules of this Court. The Court has made no

modifications.

      IT IS SO ORDERED this 11th day of July, 2022.


                               _____________________________
                               Leigh Martin May
                               United States District Judge
